      United States Court of Appeals
           for the Fifth Circuit
                          ___________

                           No. 19-10754
                          ___________

Richard W. DeOtte, on behalf of himself and others
similarly situated; Yvette DeOtte; John Kelley; Alison
Kelley; Hotze Health & Wellness Center; Braidwood
Management, Incorporated, on behalf of itself and others
similarly situated,

                                                   Plaintiffs—Appellees,

                               versus

State of Nevada,

                                        Movant—Appellant.
             ______________________________

            Appeal from the United States District Court
                for the Northern District of Texas
                      USDC No. 4:18-CV-825
            ______________________________

              ON PETITION FOR REHEARING
               AND REHEARING EN BANC

Before Higginbotham, Southwick, and Engelhardt, Circuit
Judges.
Per Curiam:
     The petition for panel rehearing is DENIED.
                                No. 19-10754


      Additionally, the court having been polled at the request of one of the
members of the court and a majority of the judges who are in active service
not having vote in favor, the petition for rehearing en banc is DENIED. See
Fed. R. App. P. 35; 5th Cir. R. 35.
      In the en banc poll, eight judges voted in favor of rehearing (Richman,
Jones, Smith, Elrod, Haynes, Ho, Duncan, and Oldham), and nine voted
against rehearing (Stewart, Dennis, Southwick, Graves, Higginson, Costa,
Willett, Engelhardt, and Wilson).




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